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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

DONALD DRAUGHON,

              Plaintiff,

              v.                                                      Case No. 14-2264-JAR-GLR

UNITED STATES OF AMERICA,

              Defendant.


                                      MEMORANDUM AND ORDER

       Plaintiff Donald Draughon brings this Federal Tort Claims Act (“FTCA”) wrongful death

action against the United States of America, alleging the Veterans Health Administration was

negligent in its treatment of his son William Draughon’s (“William”) posttraumatic stress

disorder (“PTSD”) and other mental health issues, which ultimately led to his suicide. This

matter is before the Court on the Government’s Motion for Summary Judgment (Doc. 130), the

Government’s Motion to Exclude Testimony Pursuant to Daubert (Doc. 132), and Plaintiff’s

Motion for Leave to File Sur-reply (Doc. 143). These motions are fully briefed and the Court is

prepared to rule. As described more fully below, the Government’s motions to exclude and for

summary judgment are denied. Plaintiff’s motion for leave to file a surreply is granted.

I.     Motion to Exclude Plaintiff’s Expert Opinions on Causation

       A.          Legal Standard

       The Court has broad discretion in deciding whether to admit expert testimony.1

Generally,




       1
           Kieffer v. Weston Land, Inc., 90 F.3d 1496, 1499 (10th Cir. 1996).
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                    A witness who is qualified as an expert by knowledge, skill,
                    experience, training, or education may testify in the form of an
                    opinion or otherwise if:
                    (a)    the expert’s scientific, technical, or other specialized
                           knowledge will help the trier of fact to understand the
                           evidence or to determine a fact in issue;
                    (b)    the testimony is based on sufficient facts or data;
                    (c)    the testimony is the product of reliable principles and
                           methods; and
                    (d)    the expert has reliably applied the principles and methods
                           to the facts of the case.2

The proponent of expert testimony must show “a grounding in the methods and procedures of

science which must be based on actual knowledge and not subjective belief or unaccepted

speculation.”3

        In order to determine whether an expert opinion is admissible, the Court performs a two-

step analysis. “[A] district court must [first] determine if the expert’s proffered testimony . . .

has ‘a reliable basis in the knowledge and experience of his discipline.’”4 To determine

reliability, the Court must assess “whether the reasoning or methodology underlying the

testimony is scientifically valid.”5 Second, the district court must further inquire into whether

the proposed testimony is sufficiently “relevant to the task at hand.”6 An expert opinion “must

be based on facts which enable [him] to express a reasonably accurate conclusion as opposed to

conjecture or speculation . . . absolute certainty is not required.”7 And it is not necessary to

prove that the expert is “indisputably correct,” but only that the “method employed by the expert



        2
            Fed. R. Evid. 702.
        3
            Mitchell v. Gencorp Inc., 165 F.3d 778, 780 (10th Cir. 1999).
        4
         Norris v. Baxter Healthcare Corp., 397 F.3d 878, 884 (10th Cir. 2005) (quoting Daubert v. Merrell Dow
Pharm., Inc., 509 U.S. 579, 592 (1993)).
        5
            BG Tech., Inc. v. Ensil Int’l Corp., 464 F. App’x 689, 703 (10th Cir. 2012).
        6
            Id. (quoting Daubert, 509 U.S. at 597).
        7
            Dodge v. Cotter Corp., 328 F.3d 1212, 1222 (10th Cir. 2003).




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in reaching the conclusion is scientifically sound and that the opinion is based on facts which

satisfy Rule 702’s reliability requirements.”8

        Daubert sets forth a non-exhaustive list of four factors that the trial court may consider

when conducting its inquiry under Rule 702: (1) whether the theory used can be and has been

tested; (2) whether it has been subjected to peer review and publication; (3) the known or

potential rate of error; and (4) general acceptance in the scientific community.9 But “the

gatekeeping inquiry must be tied to the facts of a particular case.”10

        It is within the discretion of the trial court to determine how to perform its gatekeeping

function under Daubert.11 The most common method for fulfilling this function is a Daubert

hearing, although it is not specifically mandated.12 In this case, the parties have not requested a

hearing. The Daubert issues have been fully and thoroughly briefed by the parties. The Court

has carefully reviewed the extensive exhibits filed with the motions, including the written reports

submitted by the experts, and finds this review is sufficient to render a decision without

conducting an evidentiary hearing.

        B.          Discussion

        The Government moves to exclude the causation opinions of three experts offered by

Plaintiff in opposition to summary judgment: Lawrence Amsel, M.D.; Michael H. Allen, M.D.;

and Steven E. Bruce, Ph.D. The Government does not challenge the qualifications of these

experts, nor the relevance of their opinions. The Government objects that their opinions are


        8
            Id.
        9
            Daubert, 509 U.S. at 593–94.
        10
             Kumho Tire Co. v. Carmichael, 526 U.S. 137, 150 (1998) (quotations omitted).
        11
           Goebel v. Denver & Rio Grande W. R.R., 215 F.3d 1083, 1087 (10th Cir. 2000); Roco, Inc. v. EOG Res.,
Inc., No. 14-1065-JAR, 2016 WL 6610896, at *8 (D. Kan. Nov. 9, 2016).
        12
             Goebel, 215 F.3d at 1087.




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conclusory and thus fail to meet the reliability standards under Rule 702 and Daubert. The

Government maintains that because there were no facts or data presented to these experts about

the period between January 2010, when William was last discharged from the VA, and March

2010, when William’s suicide occurred, their opinions on causation are “conclusory ipse dixit.”

        Under Missouri law, to demonstrate causation in a wrongful death case, “a plaintiff must

show that the negligence of the defendant ‘directly caused’ or ‘directly contributed to cause’ the

patient’s death.”13 In the context of suicide, Plaintiff must be able to offer evidence of proximate

causation—that “suicide was ‘the natural and probable consequence’ of the injury he suffered at

the hands of the defendant.”14 Such evidence will require expert testimony if there is no other

direct evidence of causation presented.15 If Plaintiff produces evidence “that the suicide resulted

from the injury, the claim then can be submitted to the jury to decide as a question of fact,

whether the suicide is a direct result of the defendant’s negligence.”16 As described below, the

Court finds that each of Plaintiff’s three expert opinions on causation are admissible under Rule

702 and Daubert.

        1.          Dr. Amsel

        Dr. Amsel is a medical doctor licensed to practice in New York, and is board certified in

psychiatry. He teaches clinical psychiatry at Columbia University, is a research psychiatrist at

New York State Psychiatric Institute, and is an attending psychiatrist at New York Presbyterian

Hospital. He is familiar with the standards of care at VA Hospitals, particularly those for



        13
          Kivland v. Columbia Orthopaedic Grp., LLP, 331 S.W.3d 299, 306 (Mo. 2011) (en banc) (quoting
Callahan v. Cardinal Glennon Hosp., 863 S.W.2d 852, 865 (Mo. 1993) (en banc) (alterations omitted)). This Court
previously determined that Missouri law applies in this case. See Doc. 33.
        14
             Kivland, 331 S.W.3d at 309 (quoting Callahan, 863 S.W.2d at 865).
        15
             Id.
        16
             Id. at 310.




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treatment of PTSD in veterans, and for the prevention of suicide. The Court finds Dr. Amsel is

qualified to render an opinion on the applicable standard of care, and on causation in this matter.

        Dr. Amsel reviewed William’s VA medical records from February 25, 2005 through

January 7, 2010—the last time he attended an appointment there. Dr. Amsel spends seven pages

of his report reciting these medical records, and explaining the areas in which he believes the VA

failed to meet the applicable standard of care in treating William. He then itemizes ten ways in

which he believes the VA deviated from the standard of care in treating William. Only after this

lengthy recitation does Dr. Amsel opine on causation:

                    Based upon my review of the foregoing medical records, it is my
                    opinion (expressed with a reasonable degree of medical certainty)
                    that the VA deviated from and fell below the acceptable standard
                    of care in its treatment of William Paul Draughon. It is my opinion
                    that more likely than not, within a reasonable degree of medical
                    certainty, William Paul Draughon’s deteriorated condition and
                    suicide were the direct result of the VA’s failure as aforesaid.17

        The parties dispute whether Dr. Amsel’s opinion is “based on sufficient facts or data and

is the product of reliable principles and methods, and if the principles and methods have been

applied reliably to the facts of the case.”18 The Government maintains that Dr. Amsel fails to

explain the basis for his opinion that William’s condition deteriorated after he was treated by the

VA in January 2010, and that he fails to take into account any of the fact-witness depositions

describing events on March 17 and 18. In order to meet the necessary causation standard under

Missouri law, Plaintiff need only show that William’s suicide was a probable and natural

consequence of the VA’s negligence. After going through five years’ worth of VA medical

records, Dr. Amsel explained the myriad ways in which he believes, within a reasonable degree


        17
             Doc. 133-2, Amsel Op. at 9.
        18
           Blanchard v. Eli Lilly & Co., 207 F. Supp. 2d 308, 317 (D. Vt. 2002) (discussing how to assess
psychiatric expert testimony under Daubert).




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of medical certainty, the VA fell below the standard of care in its treatment of William’s PTSD.

Included in these deviations are (1) the VA’s decision to lower William’s suicide risk level in

December 2009 with no explanation, and (2) its failure to monitor William after he completed an

addiction recovery program through the VA, in violation of VA policy. The Court finds that Dr.

Amsel is qualified to render an opinion that the VA’s failure to meet the standard of care

required to treat William’s PTSD proximately caused his suicide, based on his review of the

medical records. While it is true that Dr. Amsel did not review the deposition testimony from

fact witnesses about the events immediately preceding William’s March 18, 2010 suicide, this is

a gap that goes to the weight and not the admissibility of his testimony.

       2.       Dr. Allen

       Dr. Allen is a medical doctor who is board certified in psychiatry, and was previously

board certified in addictions. He is a Professor of Psychiatry and Emergency Medicine at the

University of Colorado School of Medicine, an attending physician at the Colorado Depression

Center, a consultant at the University of Colorado Hospital, and Medical Director of Rocky

Mountain Crisis Partners. He has worked extensively with suicidal patients, performing research

and developing guidelines for suicide screening. He is currently involved in a study of suicide

screening in military hospitals through Denver’s VA Mental Illness Research Educational and

Clinical Center. The Court has reviewed Dr. Allen’s credentials and finds that he is qualified to

render an opinion in this case on the applicable standard of care, and on the cause of William’s

suicide.

       Similar to its objection to Dr. Amsel’s opinion, the Government argues that Dr. Allen’s

opinion cannot be evaluated for reliability because he fails to explain the premise for his

conclusion that William’s condition deteriorated before his suicide, and because he fails to




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discuss events that occurred on March 17 and 18, 2010, immediately preceding the suicide. The

Government also objects to Dr. Allen’s rebuttal report to its own expert, Christopher Ticknor,

M.D., and to his supplemental report addressing one of the VA provider’s deposition testimony.

       As to Dr. Allen’s primary report, the Court finds that the Government’s objections must

be overruled and denied for the same reasons explained as to Dr. Amsel. Similar to Dr. Amsel’s

report, Dr. Allen explains in detail how William’s medical records reveal breaches of the

standard of care that should have applied to his treatment, with a particular focus on his

treatment in late 2009 and early 2010. And like Dr. Amsel, Dr. Allen identified several ways in

which the VA failed to properly address William’s PTSD, and assess and treat his suicide risk.

Dr. Allen echoed Dr. Amsel’s assessment that the VA’s decision to reduce William’s suicide risk

assessment in December 2009 was not supported by the medical evidence, causing a reduction in

services and treatment during the critical transition time after completing residential substance

abuse treatment. Dr. Allen also opines that the VA was separately obligated to perform outreach

to William when he missed appointments, which was not sufficiently performed by VA

professionals in this case. Dr. Allen opines that these failures caused his condition to deteriorate.

Dr. Allen reviewed Corey Draughon’s deposition transcript, William’s brother who was present

on the date of his suicide, and the police reports from the night of the suicide. To the extent the

Government contends that Dr. Allen’s opinion is not credible because it does not sufficiently

take into account evidence about William’s condition in March 2010, that is an issue of weight

over admissibility, which the trier of fact is entitled to determine.

       Dr. Allen’s rebuttal report addresses specific opinions rendered by the Government’s

expert Dr. Ticknor. The Government argues that Dr. Allen’s rebuttal opinion is unreliable on

two grounds: (1) Dr. Allen’s contention that William exhibited PTSD symptoms at the time of




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his death is not based on any reference to facts in the record; and (2) Dr. Allen fails to support

his conclusion that although a “precipitant” was involved in William’s suicide, it alone would

not have caused William’s suicide.

       In paragraph 2 of Dr. Ticknor’s report, he sets forth the basis for his opinion that the

VA’s treatment of William did not cause his death. One of the grounds for this opinion is that

the records he reviewed are devoid of any mention that William exhibited symptoms of PTSD or

depression on the day or night of his suicide. He opines that the last evidence of suicidal

thoughts is from October 2009. Dr. Allen reached a different causation opinion in his primary

report, which this Court has already determined to be admissible. In the rebuttal report, Dr.

Allen challenges Dr. Ticknor’s focus on the time period immediately preceding William’s death.

Dr. Allen contends that Dr. Ticknor

                   uses the absence of evidence from unqualified lay people to assert
                   that Mr. Draughon was asymptomatic at the moment of his death.
                   This speciously would require that only symptoms occurring at a
                   given moment in time contribute. It would further require a level
                   of expertise and opportunity to examine Mr. Draughon that lay
                   people in his environs could not possess.19

The Government objects to this opinion, arguing that Dr. Allen provides “no apparent discussion

of causation, nor any explicit statements about the events of March 18, 2010.” The Government

also objects that Dr. Allen fails to explain what symptoms he believed were occurring, and how

those symptoms resulted from a breach of the standard of care. But, as already discussed, Dr.

Allen extensively explained his opinion in his initial expert report. His rebuttal report

consistently criticizes Dr. Ticknor for evaluating William’s symptoms only immediately

preceding his death. Dr. Allen’s opinion, in contrast, is that William’s medical records evidence

a longstanding battle with PTSD and depression that were aggravated by alcohol dependence.

       19
            Doc. 133-4, Allen Rebuttal Op. at 3.




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He opines that William’s suicide risk level was reduced in contravention of VA guidelines,

leading to his discharge with inadequate preparation and follow-up. Dr. Allen opines that these

failures led to William’s alcohol relapse and aggravated his suicide risk. The Court finds that

these opinions are sufficiently reliable to be admissible, and that the Government’s objections go

to the weight and not the admissibility of his opinion.

       In paragraph 3 of Dr. Ticknor’s report, he opines that “[a]lcohol abuse and long-standing

impulsivity were the causes of Will Draughon’s death, and not a failure by doctors and staff at

the VA Healthcare System to treat Mr. Draughon’s depression and PTSD.”20 Dr. Ticknor sets

forth in this paragraph several reasons for his opinion, calling William’s “conscious, deliberate

relapse of alcohol abuse . . . coupled with an accusation from his girlfriend . . . that [he] was

cheating on her” as “precipitating factors.”21 Dr. Ticknor maintains William’s alcohol

dependence was independent from his PTSD and depression; he disagrees with Dr. Amsel and

Dr. Allen’s opinions that William’s alcohol dependence was related to his PTSD and was used as

a form of self-medication. He further contends that the level of alcohol in William’s system at

the time of his death evidences a conscious decision not to comply with the medical

recommendation of abstaining from alcohol.

       The second portion of Dr. Allen’s rebuttal opinion challenged by the Government rebuts

this paragraph of Dr. Ticknor’s opinion, and therefore must be viewed in that context. Dr. Allen

contends that Dr. Ticknor’s opinion that William’s alcohol dependence is unrelated to his PTSD

and depression is not supported by the evidence or by the VA’s own standards for treatment. He

explains:



       20
            Doc. 138-4, Ticknor Op. at 13.
       21
            Id.




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                    His evidence for this again is simply statements by lay witnesses.
                    He should produce a methodology for his assertion that “Mr.
                    Draughon was alcoholic independently of allegedly self-
                    medicating depression or PTSD”. The fact that Mr. Draughon was
                    alcoholic is uncontroverted so repeated evidence on this point
                    simply reinforces the perception of Dr. Ticknor’s bias.

                    The fact that there was a precipitant is also uncontroverted and
                    unsurprising. Precipitants can do [sic] interact with any and all
                    disposing conditions but precipitants alone are insufficient to result
                    in suicide or the suicide rate would clearly be much higher.
                    Reciting Mr. Draughon’s relationship history would actually seem
                    to undercut Dr. Ticknor’s argument that this disruption would be
                    sufficient to cause a fatal attempt. But again, whatever Mr.
                    Draughon’s history, it was or should have been known to the VA
                    and understood as another potential risk factor in a high risk
                    individual.22

The Court has reviewed Dr. Allen’s primary report, Dr. Ticknor’s report, and Dr. Allen’s rebuttal

report and finds that his rebuttal report on this point has sufficient indicia of reliability. It is clear

from the context of his report’s response to Dr. Ticknor’s assertions that Dr. Allen’s precipitant

reference is to Dr. Ticknor’s discussion in paragraph 3 of his report to “precipitating factors”: i.e.

William’s use of alcohol coupled with the argument with his girlfriend on the night of his

suicide. Dr. Allen sufficiently explains throughout his primary report, as well as the rebuttal

report, that in his experience, and according to VA guidelines, alcohol dependence in a case like

William’s is related to his PTSD and depression, and that the combination of these factors, which

he contends were inappropriately treated, led to William’s suicide.

        Dr. Allen submitted a supplemental report addressing deposition testimony of George

Dent, Ph.D., who testified that he had telephonic contact with William after his discharge when

William failed to contact him for a follow-up appointment. The Government argues that Dr.

Allen’s supplemental report is flawed because although “Dr. Allen explains what he felt was


        22
             Doc. 133-4, Allen Rebuttal Op. at 3.




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wrong with this call . . . he never even attempts to explain how or why it caused William’s

suicide.” But Dr. Allen’s supplemental report, by its terms, was not intended to address how this

call caused William’s suicide. It was “intended to cover only the deposition of Dr. Dent.” Dr.

Allen explained how the phone call Dr. Dent discussed in his deposition did not change Dr.

Allen’s opinion that the VA failed to meet the standard of care required for follow-up of suicidal

patients who miss appointments. The Court declines to exclude Dr. Allen’s supplemental

opinion.

       In sum, the Court finds that Dr. Allen’s opinions have a reliable basis in the knowledge

and experience of the psychiatry profession, and specifically psychiatrists who specialize in

suicide screening and prevention. The Government’s objections to Dr. Allen’s opinions are

classic weight over admissibility challenges, and are thus denied. “Vigorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof are the

traditional and appropriate means of attacking shaky but admissible evidence.”23

       C.          Dr. Bruce

       Steven E. Bruce, Ph.D. is a licensed clinical psychologist who is Director at the Center

for Trauma Recovery, Director of Clinical Training, and Associate Professor of Psychological

Services at the University of Missouri-St. Louis. The Court finds that he is qualified to render an

opinion on the issues of standard of care and causation in this case. The Government challenges

Dr. Bruce’s expert and rebuttal reports on the same ground discussed above with reference to Dr.

Amsel and Dr. Allen. It contends that Dr. Bruce’s opinion lacks reliability because it fails to

connect the alleged breaches of the standard of care he identifies with William’s suicide. The

Government provides a one-paragraph quotation summarizing Dr. Bruce’s causation opinion,


       23
            Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596 (1993).




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and makes the conclusory and incorrect assertion that he fails to explain or discuss the basis for

his causation opinion. But Dr. Bruce has provided an extensive report that explains the basis for

his standard of care and causation opinions. He reviewed William’s medical records, VA

practice guidelines and other VA documents, as well as some deposition testimony. He reaches

similar conclusions as Dr. Amsel and Dr. Allen—that the VA did not adhere to its own policies

and standards in treating William’s PTSD and alcohol dependence. Significantly, Dr. Bruce

identifies an error in William’s PTSD checklist assessment one week prior to his discharge from

the December inpatient treatment. He opines that the decision to discharge William may have

been, at least in part, due to this mistake. Dr. Bruce addresses the many risk factors that should

have been apparent to VA personnel when treating William in late 2009, as well as violations of

VA policies regarding contacting veterans after they miss follow-up appointments. After

approximately seven pages of opinions analyzing this evidence, Dr. Bruce sets forth his “strong

opinion” that William did not receive adequate treatment at the VA, and that if he had received

proper treatment, it could have changed the course and outcome of his life. He contends that the

VA’s errors “were significant factors that contributed to his suicide on March 18, 2010. In my

opinion, Mr. Draughon’s failure to recover as well as his eventual suicide were a direct result of

the VA not adhering to their own guidelines and standards of care.”24

       Similar to its objections to the other experts’ reports, the Government maintains that Dr.

Bruce’s causation opinion is deficient because it does not address events that transpired on

March 17 and 18, 2010. As already discussed, the Court finds that this objection goes to the

weight and not the admissibility of the experts’ opinions. It is thus overruled and denied. Dr.

Bruce’s opinion meets the reliability standards that the Court applies in its role as gatekeeper.


       24
            Doc. 133-6, Bruce Op. at 8.




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II.      Motion for Summary Judgment

         A.          Standards

         Summary judgment is appropriate if the moving party demonstrates “that there is no

genuine dispute as to any material fact” and that it is “entitled to judgment as a matter of law.”25

In applying this standard, the Court views the evidence and all reasonable inferences therefrom

in the light most favorable to the nonmoving party.26 “There is no genuine [dispute] of material

fact unless the evidence, construed in the light most favorable to the non-moving party, is such

that a reasonable jury could return a verdict for the non-moving party.”27 A fact is “material” if,

under the applicable substantive law, it is “essential to the proper disposition of the claim.”28 A

dispute of fact is “genuine” if “there is sufficient evidence on each side so that a rational trier of

fact could resolve the issue either way.”29

         The moving party initially must show the absence of a genuine dispute of material fact

and entitlement to judgment as a matter of law.30 In attempting to meet this standard, a movant

who does not bear the ultimate burden of persuasion at trial need not negate the nonmovant’s

claim; rather, the movant need simply point out to the court a lack of evidence for the nonmovant

on an essential element of the nonmovant’s claim.31

         Once the movant has met the initial burden of showing the absence of a genuine dispute

         25
              Fed. R. Civ. P. 56(a).
         26
              City of Herriman v. Bell, 590 F.3d 1176, 1181 (10th Cir. 2010).
         27
          Bones v. Honeywell Int’l, Inc., 366 F.3d 869, 875 (10th Cir. 2004) (citing Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 248, 255 (1986)).
         28
          Wright ex rel. Trust Co. of Kan. v. Abbott Labs., Inc., 259 F.3d 1226, 1231–32 (10th Cir. 2001) (citing
Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998)).
         29
              Adler, 144 F.3d at 670 (citing Anderson, 477 U.S. at 248).
         30
           Spaulding v. United Transp. Union, 279 F.3d 901, 904 (10th Cir. 2002), cert. denied 537 U.S. 816 (2002)
(citing Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986)).
         31
           Adams v. Am. Guar. & Liab. Ins. Co., 233 F.3d 1242, 1246 (10th Cir. 2000) (citing Adler, 144 F.3d at
671); see also Kannady v. City of Kiowa, 590 F.3d 1161, 1169 (10th Cir. 2010).




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of material fact, the burden shifts to the nonmoving party to “set forth specific facts showing that

there is a genuine issue for trial.”32 The nonmoving party may not simply rest upon its pleadings

to satisfy its burden.33 Rather, the nonmoving party must “set forth specific facts that would be

admissible in evidence in the event of trial from which a rational trier of fact could find for the

nonmovant.”34 In setting forward these specific facts, the nonmovant must identify the facts “by

reference to affidavits, deposition transcripts, or specific exhibits incorporated therein.”35

        Finally, summary judgment is not a “disfavored procedural shortcut”; on the contrary, it

is an important procedure “designed to secure the just, speedy and inexpensive determination of

every action.”36

        B.          Factual Background

        1.          Hearsay Objections to the Police Report

        Before reciting the uncontroverted facts in this matter, the Court must rule on one other

evidentiary issue—Plaintiff’s hearsay objection to Defendant’s Exhibit O,37 the police report

prepared by Kansas City, Missouri police officers after William Draughon’s suicide. Plaintiff

objects that the exhibit is inadmissible hearsay within hearsay. The Government responds that

the witnesses’ statements in each report can be presented in an admissible form at trial.38




        32
          Anderson, 477 U.S. at 256; Celotex, 477 U.S. at 324; Spaulding, 279 F.3d at 904 (citing Matsushita Elec.
Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).
        33
             Anderson, 477 U.S. at 256; accord Eck v. Parke, Davis & Co., 256 F.3d 1013, 1017 (10th Cir. 2001).
        34
          Mitchell v. City of Moore, Okla., 218 F.3d 1190, 1197–98 (10th Cir. 2000) (quoting Adler, 144 F.3d at
670–71); see Kannady, 590 F.3d at 1169.
        35
             Adler, 144 at 671.
        36
             Celotex, 477 U.S. at 327 (quoting Fed. R. Civ. P. 1).
        37
             Doc. 131-16.
        38
             See Fed. R. Evid. 805.




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        Summary judgment evidence need not be “submitted ‘in a form that would be admissible

at trial.’”39 But “the content or substance of the evidence must be admissible.”40 Under Fed. R.

Civ. P. 56(c)(2), a party may object on this basis—that the material “cannot be presented in a

form that would be admissible in evidence.” Indeed, as the advisory committee notes to the 2010

Federal Rule amendments explain: “The burden is on the proponent to show that the material is

admissible as presented or to explain the admissible form that is anticipated.”41 “The

requirement is that the party submitting the evidence show that it will be possible to put the

information, the substance or content of the evidence, into an admissible form.”42 With respect

to hearsay, the proponent of the evidence must make some showing that the substance of the

evidence would be admissible at trial by either demonstrating that an exception applies, or that

the declarant would testify to the document’s contents.43

        Plaintiff objects to the Government’s reliance on two witness statements in the report:

Jennifer Moran and Corey Draughon (“Corey”). The statements are undoubtedly hearsay within

hearsay. The officers’ statements in the report are out-of-court written statements, offered to

prove the truth of the matter asserted.44 And Moran and Corey’s statements are hearsay within

hearsay—they too are offered for the truth of the matter asserted.

        As to the first level of hearsay, the Government does not indicate that the officers who

completed the report would testify at trial. Instead, the Government urges that the report falls


        39
           Brown v. Perez, 835 F.3d 1223, 1232 (10th Cir. 2016) (quoting Trevizo v. Adams, 455 F.3d 1155, 1160
(10th Cir. 2006)).
        40
             Id. (quoting Argo v. Blue Cross & Blue Shield of Kan., Inc., 452 F.3d 1193, 1199 (10th Cir. 2006)).
        41
             Fed. R. Civ. P. 56 advisory committee’s note to 2010 amendment.
        42
          Brown, 835 F.3d at 1232 (quoting 11 James Wm. Moore et al., Moore’s Federal Practice–Civil § 56.91
(3d ed. 2015)); see O’Connor v. Williams, 640 F. App’x 747, 750 (10th Cir. 2016).
        43
             See Brown, 835 F.3d at 1232–33.
        44
             See Fed. R. Evid. 801(c).




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under the public records or business records exceptions to the hearsay rule. The Court disagrees.

A statement may qualify for the public records exception where:

                     (A) it sets out:
                     (i) the office’s activities;
                     (ii) a matter observed while under a legal duty to report, but not
                     including, in a criminal case, a matter observed by law-
                     enforcement personnel; or
                     (iii) in a civil case or against the government in a criminal case,
                     factual findings from a legally authorized investigation; and
                     (b) the opponent does not show that the source of information or
                     other circumstances indicate a lack of trustworthiness.45

The statements upon which the Government relies in the Police Report are not the officers’

observations, nor their factual findings or opinions from a legally authorized investigation.46 The

statements are those made to them by the witnesses. The Government has not shown that these

statements qualify under the public records exceptions.

         Nor has the Government demonstrated that the business records exception applies. That

exception may apply to reports prepared in the normal course of law enforcement

investigations.47 But similar to the public records exception, this exception does not apply when

the declarant is not acting in the regular course of business. The advisory committee notes use

the example of a police report’s statement that includes a statement by an informant to

demonstrate an instance where “an essential link is broken” because “the supplier of the

information does not act in the regular course.”48 With such statements in a police report, “the




         45
              Fed. R. Evid. 803(8).
         46
           See United States v. Taylor, 462 F.3d 1023, 1026 (8th Cir. 2006) (“the [police] report was inadmissible
because it did not contain what Rule 803(8)(C) makes admissible—‘factual findings resulting from an
investigation.’”); Walker v. City of Okla. City, No. 98-6457, 2000 WL 135166, at *8 (10th Cir. Feb. 7, 2000)
(finding third-party statement in a police report was inadmissible hearsay).
         47
              Fed. R. Evid. 803(6); see Haskell v. U.S. Dep’t of Agric., 930 F.2d 816, 819 (10th Cir. 1991).
         48
              Fed. R. Evid. 803 advisory committee notes.




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officer qualifies as acting in the regular course but the informant does not.”49 Similarly, here the

police report’s recitation of witness statements does not meet the business records exception to

the hearsay rule.

         Because the Government has failed to show the substance of this evidence can be

presented in an admissible form at trial, the Court must exclude this evidence on summary

judgment.50

         2.       Uncontroverted Facts

         The following facts are uncontroverted, stipulated, or viewed in the light most favorable

to Plaintiff as the nonmoving party. William Draughon (“William”) enlisted with the Marines in

February 2001, and was honorably discharged in February 2005. While in the Marines, William

served a seven-month combat tour in Iraq that ended on or around October 2004. He was a

squad leader for at least part of his tour in Iraq. While there, William was exposed to fire fights

and improvised explosive devices (“IED”). He reported that members of his squad died during

his tour in Iraq, and he expressed feelings of guilt and responsibility for their deaths. William

kept their dog tags around the mirror of his truck. His brother Corey recalls William telling him

about having to “go into the enemy’s huts, homes and whatever they call them over there, and he

         49
          Id.; see also United States v. Gold, 739 F. Supp. 1459, 1461 (D. Kan. 1990) (declining to apply business
records exception to police report containing witness statement).
         50
             The Government did not indicate that it intends to call Officers Heinen or Borkowski to testify about their
reports, and the Court will not assume that the Government intends to do so. If the Government does ultimately call
these officers, it would remove one layer of hearsay, and it may be able to present Corey and Moran’s statements if
it demonstrates that a hearsay exception applies. Under these circumstances, the Court agrees that Corey’s
statements may be introduced in an admissible form through his own testimony. Moran could not testify in person
at trial, as she is now deceased. The Court would not admit her statements under the excited utterance exception
about events that transpired the day before his suicide. Nor would the Court admit Moran’s statements that
constitute further hearsay about William’s past statements about suicide or his PTSD diagnosis. The only statements
by Moran that would be admissible under the excited utterance exception are those that describe the “startling event
or condition, made while [she] was under the stress or excitement that it caused.” Fed. R. Evid. 803(2). The Court
is not persuaded that the residual exception applies to Moran’s statement. Under Fed. R. Evid. 807, a statement may
qualify under the residual exception where another hearsay exception does not apply and “the statement has
equivalent circumstantial guarantees of trustworthiness.” The Court cannot find such guarantees in this statement,
particularly given the officer’s stated impression that Moran was intoxicated at the time she made her statement.




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had to kill them before they would kill him. And some of them would be women, children, and

it was either his life or theirs.”51 William received a citation for heroic service during his service

in Iraq.

           Upon returning to the United States in October 2004, William reported symptoms

consistent with PTSD, and was ultimately diagnosed as having PTSD at the time of his discharge

from military service. At that time, and on February 10, 2005, William stated to the U.S. Marine

Health Care Provider his intention to seek out help through the VA for disability and for his

PTSD. In 2008–2009, William had three failed suicide attempts: (1) in 2008, by placing a

hangman’s noose over a beam in his basement; (2) in January 2009, when he tried to shoot

himself in the head and missed; and (3) in August 2009, by overdosing on his medication.

           Between February 2005 and August 26, 2009, William attended mental-health

appointments at the Veterans Affairs Kansas City Medical Center (“KCVA”) on five occasions:

August 4, 2005; April 7, 2008; December 16, 2008; January 20, 2009; and March 31, 2009. He

was hospitalized at the KCVA from August 28, 2009, until September 2, 2009, and from October

4, 2009, until October 7, 2009. William attended the Substance Abuse Residential Recovery

Treatment Program (“SARRTP”) at the KCVA from October 7, 2009, until October 28, 2009.

Then, from November 18, 2009, until January 6, 2010, William attended the Psychiatry and

Addiction Recovery Treatment (“PART”) Program at the Leavenworth VA in Kansas.

Relevant VA Policies and Procedures for the Treatment of PTSD and Substance Abuse
Disorders

           The VA has a procedure in place for identifying patients at high risk for suicide. It

contains “carefully defined criteria for high risk suicide” and references the warning signs and

high-risk criteria described in the “Suicide Risk Assessment Guide Reference Manual.” The

           51
                Doc. 140-9 at 61:14–62:24.




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“Suicide Risk Assessment Guide Reference Manual” includes a list of nonexhaustive factors that

may increase a person’s risk for suicide. Some of the factors on this list are:

        • Current ideation, intent, plan, access to means

        • Previous suicide attempt

        • Alcohol/substance abuse

        • Current or previous history of psychiatric diagnosis

        • Impulsivity and poor self-control

        • Recent losses—physical, financial, personal

        • Recent discharge from an inpatient psychiatric unit

        • Co-morbid health problems

        Additionally, the VA issued a memo on April 24, 2008, providing guidance to the

Suicide Prevention Coordinator (“SPC”) for identifying and treating patients at high risk for

suicide. The memo requires SPCs to report certain patients as high risk. Among other

requirements:

                    Patients, who are admitted for hospitalization as a result of a high-
                    risk for suicide ideation, must be placed on the high-risk list, and
                    kept on the list for a period of at least 3 months after discharge.
                    They must be evaluated at least weekly during the first 30 days
                    after discharge. Other patients identified as surviving a suicide
                    attempt and those who are placed on the high-risk list for other
                    reasons should also be evaluated at least weekly for at least the
                    next month.52

The policy outlined in the April 24, 2008 memo also requires that such patients have a care plan

including monitoring for suicidality and periods of increased risks. This plan must include

specific processes of follow-up for missed appointments. In addition, there must be a written

safety plan with specific features outlined in the policy, including a list of “situations, stressors,

        52
             Doc. 139-17 ¶ 4.




                                                     19
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thoughts, feelings, behaviors and symptoms that suggest periods of increased risk, as well as

step-by-step descriptions of coping strategies and help-seeking behaviors that can be used at

these times.”53

       The VA’s Clinical Practice Guideline for the Management of Post-Traumatic Stress

provides in part:

                    Effective PTSD treatment is extremely difficult in the face of
                    active substance use problems unless the substance use[] disorders
                    are also treated. Most often, attempts to address substance
                    problems should proceed concurrently with the direct management
                    of PTSD. However, in cases when the substance use is severe,
                    substance use may require initial treatment and stabilization before
                    progressing to PTSD care (e.g., patient requires detoxification
                    from opiates) . . . .54

       On July 18, 2008, the VA issued a directive regarding the use of patient record flags

(“PRF”) to identify patients at high risk for suicide. “The primary purpose of the High Risk for

Suicide PRF is to communicate to VA staff that a veteran is at high risk for suicide and the

presence of a flag should be considered when making treatment decisions.”55 This flag pops up

in the patient’s electronic medical record before a health care provider can access the record.

The VA directive makes clear that

                    a PRF is limited to only those patients at high risk, and only for the
                    duration of the increased risk for suicide. The PRF is removed as
                    soon as it is clinically indicated to do so. This is especially
                    important to minimize the risk of undue stigmatization for the
                    patient, and to maintain the value of the PRF system as an alert to
                    immediate clinical safety concerns.56




       53
            Id. ¶ 5(f)(1).
       54
            Doc. 139-9 at B-23.
       55
            Doc. 139-15 ¶ 2(a).
       56
            Id. ¶ 2(b).




                                                     20
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The directive further explains that whether a veteran is determined to be at high risk for suicide

“is always a clinical judgment made after an evaluation of risk factors (e.g., history of past

suicide attempts, recent discharge from an inpatient mental health unit), protective factors and

the presence or absence of warning signs as listed on the VA Suicide Risk Assessment Pocket

Card.”57

William’s VA Treatment History

       William’s PTSD screens were positive at his appointments in 2006 and 2008. In 2007,

William reported a history of exposure to IED, grenades and land mines, after which he was

dazed and confused. He was referred for consultation for Traumatic Brain Injury (“TBI”), but a

2009 notation in his medical record indicates that he “did not come in for exam at that time.”58

       On March 31, 2009, William told a VA psychiatrist that he struggled with the anniversary

of losing some of his buddies in Iraq, and that he always drinks heavily on that date in early

April. The psychiatrist indicated in his notes that William suffered from PTSD.

       August 28, 2009–September 2, 2009 Hospitalization

       William was hospitalized at the KCVA for his first acute stabilization from August 28,

2009, until September 2, 2009. On August 27, 2009, William drank alcohol despite being on

Antabuse, dressed himself in camouflage, blackened his face, and got a knife. After police were

called, William ran from them and eventually woke up inside his dog house. He reported that he

had been drinking earlier that evening after finding some medals and newspaper articles about

the war.

       The next morning, on August 28, William’s girlfriend’s mother took him to the KCVA.

He admitted to suicidal ideation “off and on recently with thoughts of shooting himself or going

       57
            Id. ¶ 2(d)(2).
       58
            Doc. 131-2 at USA_000534.




                                                 21
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off a bridge.”59 He admitted to thinking of harming himself, and that he had a plan. He reported

that “he was driving his truck last night ‘very fast and looking at something to crash into.’” 60

William reported that he had “horrible PTSD symptoms,” including intense flashbacks of his

friends dying, and “things that he had to do during the war.” He reported drinking heavily to

self-medicate. Dr. Demark, William’s principal treating VA Psychiatrist, opines that William

was using alcohol to try to cover up or treat his PTSD symptoms.

       William told a nurse about a prior suicide attempt, “to shoot myself, had the gun to my

chin and the gun went off but missed me.”61 He told VA providers that he had also recently

attempted suicide, when he carried around a loaded gun, told everyone to leave him alone, drank

alcohol, and overdosed on his medication. His girlfriend found him unresponsive, and he was

taken to another hospital and treated. William’s suicide risk assessment screen was positive, and

VA providers set a high-risk flag for suicidal behavior in his electronic record on August 28,

2009. There are references in the medical record between August 29 and October 4, 2009 to

William’s suicide safety plan, however the details of the plan are not included in that record.

       On August 31, 2009, the VA staff provided William with information about the SARRTP

for after discharge. SARRTP is a residential rehabilitation program for treating substance abuse

disorders. The SAARTP also provides care for any co-morbidly occurring psychological

conditions, including PTSD. William stated he was not interested in the program because he was

already enrolled in an outpatient substance abuse treatment program.

       On September 1, 2009, VA staff provided William with information about the VA’s

Stress Disorders Treatment Program (“SDTP”) in Topeka. This program is offered to “veterans


       59
            Id. at USA_00627.
       60
            Id. at USA_00598.
       61
            Doc. 139-2 at USA_00613.




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and active-duty soldiers who have experienced military-related trauma (e.g. combat trauma,

military sexual trauma, other traumatic assaults) that has led to [PTSD], depression, substance

abuse, and other life difficulties.”62 It is a seven-week “intensive inpatient program designed to

help veterans decrease symptoms, improve their quality of life, enhance self-esteem, return to

work or school, and reintegrate with their families and communities.”63 Admission to the

program requires thirty days of sobriety. On September 2, 2009, a VA provider strongly

encouraged William to pursue admission to the SDTP and provided him with informational

materials, including the application. Although William expressed a desire “to enter the program

ASAP,” he had not attained thirty days of sobriety by September 2. William was discharged on

September 2 to outpatient treatment.

       Post-September 2, 2009 Outpatient Treatment

       Between his discharge on September 2, and October 4, 2009, VA providers had at least

four in-person contacts with William. During this timeframe, VA providers also attempted to

call William on at least five occasions regarding his condition, but had to leave voicemails.

William later admitted that he received these voicemails, but chose not to return them.

       On September 16, 2009, William met with Dr. Demark, and his PTSD GAF score was

recorded as 50. The GAF score is used to determine the severity of a veteran’s impairment of

functioning caused by PTSD. It helps the VA determine the veteran’s percentage of

compensation. A score between 41 and 50 indicates “[s]evere symptoms (e.g., suicidal ideation,

severe obsessional rituals, frequent shoplifting) OR any serious impairment in social,

occupational or school functioning (e.g., no friends, unable to keep a job).”64


       62
            Doc. 139-5 at 3.
       63
            Id.
       64
            Doc. 139-6.




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       On September 30, 2009, William met with Dr. Demark again, and reported an incident

one evening that week when he went out drinking at a bar, drove home, and was verbally abusive

to his girlfriend. William had stopped taking his medication, and did not remember the events

from that evening.

       On October 2, 2009, William met with a VA Suicide Prevention case manager, and

expressed his continued interest in the SDTP program, but indicated he was not ready to fill out

the application.

       October 4, 2009–October 7, 2009 Hospitalization

       William was hospitalized at the KCVA for his second acute stabilization from October 4,

2009 until October 7, 2009. On October 4, 2009, at 2:09 a.m., the Kansas City Police

Department brought William to the KCVA emergency room, because “[a]pparently he ha[d]

medication today and began having flashbacks,” and was positive for alcohol. The prior

evening, William had been drinking around a campfire with a buddy and talking about the war.

He admitted to VA providers that he had suicidal ideations and was admitted for “mood and

medication management and [alcohol] detox.”65 While at the hospital, William rammed his head

into a Plexiglas window, and had to be restrained by officers. He told VA Providers on October

5, 2009, that he wanted to attend SARRTP because his girlfriend, Jennifer Moran, would not let

him return home without seeking help. Two progress notes during this hospitalization list

William’s primary diagnosis as “Bipolar Affective Disorder.”66

       SARRTP: October 7, 2009–October 28, 2009

       William attended SARRTP at the KCVA from October 7 through October 28, 2009.

While at SARRTP, William learned coping skills for PTSD, including grounding and deep

       65
            Doc. 131-2 at USA_00521.
       66
            Doc. 139-2 at USA_00459, USA_479.




                                                24
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breathing techniques, and reported that he was practicing these skills “with some benefit.”67

William was elected to serve as president of the residents in SARRTP, which is a position

elected by those residents. The president takes a leadership role in the program, reads the rules,

and helps get meetings started.

       At the beginning of his time in SARRTP, VA providers discussed the possibility of

William attending the PART program at the Leavenworth VA, a seven-week, dual-diagnosis

program that treats veterans with both a substance-abuse disorder and a mental health condition.

William was uninterested at first. But on October 15, 2009, VA staff provided him with a PART

application, and on October 22, he told his VA providers that “he would like to go to the PART

program” because he realized that he needed “more aftercare than just outpatient.”68 He and

Moran had agreed that it was the best option for him. William completed the SARRTP program

and reported that he learned a lot: “the breathing techniques he is currently using is helpful. He

still reports some anxiety, but it is not as significant as it was before.”69 He looked forward to

attending the PART program.

       On October 9, 2009, while receiving in-patient treatment in SARRTP, William told VA

staff psychologist Dr. Amalia Bullard he was experiencing “horrible PTSD symptoms” including

flashbacks, anger and nightmares, and he drinks heavily to “self-medicate” his PTSD. During

the same session, William told Dr. Bullard he desired help for his PTSD and wanted to apply for

the SDTP program in Topeka, but was having difficulty completing the application, which

required him to detail his traumatic combat memories. William asked Dr. Bullard to assist him

in filling out the application, making a follow-up appointment with her on October 20, 2009 for


       67
            Id. at USA_00393.
       68
            Id. at USA_00384.
       69
            Id. at USA_00098.




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that purpose. There is no record that Dr. Bullard helped William complete the SDTP application

on October 20.

       On October 15, 2009, William discussed his PTSD symptoms with two other VA health

care providers—Dr. Dent and Dr. Demark. He told them both that his combat experience,

particularly witnessing his friends’ death in Iraq, triggers PTSD symptoms.

       Post October 28, 2009 Outpatient Treatment

       William returned home from October 28, 2009, until PART began on November 18,

2009. During that time, he reported remaining sober and doing well. Had William applied to the

SDTP program at this time, he would have been eligible. On November 10, he reported to VA

providers that he had been working in construction since his SARRTP discharge. He was

reminded by VA providers of the crisis hotline number, mental health walk-in clinic, and 24/7

emergency room, which he could use as needed.

       PART: November 18, 2009–January 6, 2010

       William attended PART at the Leavenworth VA from November 18, 2009 until January

6, 2010. His medical record indicates that he “is admitted to PART program and will be assisted

with sobriety maintenance.”70 It is fairly common for a patient to attend PART, which provides

skills for emotional regulation that can come up during intense trauma treatment, before going

through SDTP. Dr. Huet, a PART psychiatrist, first saw William on November 19, and on that

date William reported daily passive suicidal ideation—thinking that one is better off dead or has

no reason to live.71 According to Dr. Huet, William had no further suicidal ideation, passive or

active, after that date. Also on November 19, William reported that he was in a stable

relationship with Moran, that she was very supportive of him, and that he loved her. They had

       70
            Doc. 139-2 at USA_00335.
       71
            By contrast, active suicidal ideation is where one thinks about taking one’s own life.




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been in a relationship since October 2008, and had lived together for almost one year before

William entered the PART program. He spoke of or visited with Moran several times while in

the program. Dr. Huet diagnosed William with PTSD, and wanted to rule out Bipolar I disorder.

William remained on the suicide high-risk list with a current GAF score of 50.

       On November 23 and 24, 2009, William expressed a desire to go to SDTP following

PART, but he had not yet completed his application. Dr. Rosinski, William’s PART

psychologist, assisted William in completing his application to SDTP several times during his

stay at PART. By December 21, 2009, William reported that he believed he was ready for the

SDTP program now, and hoped to “figure out how to live with PTSD better.”72 On December

22, he told Dr. Huet that he was still waiting to hear back regarding his admission to SDTP, but

hoped to hear soon. On December 23, he discussed financial assistance options with a VA social

worker if he attended SDTP, including references to community resources and organizations that

could assist with his monthly bills during the duration of this treatment at SDTP.

       On December 2, 2009, Suicide Prevention Coordinator Cherie Durkin reduced William’s

suicide risk level, and the Category II high-risk flag was removed from his electronic medical

record. Durkin and Dr. Demark testified differently about who was responsible for deciding

whether to remove the high-risk flag. Durkin characterized her role as “clerical,” stating that she

merely sent the criteria for maintaining the high-risk flag to Dr. Demark to determine whether it

should remain in place because it had been approximately 90 days since the flag had been set on

August 28, 2009. Durkin does not recall whether she spoke with Dr. Demark about the decision

to remove the high-risk flag from William’s chart, but stated that as William’s health care

provider, Dr. Demark made the decision to remove that flag. Dr. Demark testified that he


       72
            Doc. 131-2 at USA_00194–95.




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believed Durkin made the ultimate decision whether to remove the high-risk flag, and denied

making that determination, despite signing the note reflecting the flag had been removed.

Neither Dr. Huet nor Dr. Rosinksi participated in the decision to remove the suicide high risk

flag, but Dr. Huet testified that he saw no problem with removing the flag because William had

been engaged and compliant with treatment and no longer had suicidal ideation.

       On December 28, 2009, William reported that his medication was working well, and that

he was not having nightmares. Techniques he learned in treatment were helping identify his

triggers. He rated his depression and anxiety as 3 and 3.5 respectively on a scale of 1-10, 10

being highest.

       On December 29, 2009, Dr. Huet administered a PCL screening test for PTSD.

William’s score was 42, or “negative.” William reported to Dr. Huet that same day that he was

doing “great” with “no problems.”73 He told Dr. Rosinski on that day that he was in a good

mood, and his current medications were “the best combo yet.”

       Also on December 29, William told VA providers that he had chosen not to go to SDTP

program at the Topeka VA after discharge, but rather, work for awhile to earn money. William

feared foreclosure on his home that he shared with Moran and his brother, Corey. He had only

received a 10% disability rating for his PTSD, resulting in a meager $120 per month in disability

benefits. William also discussed this decision with Dr. Rosinski on December 29, and discussed

his plan to continue his treatment in other ways, such as exposure therapy.

       On January 4, 2010, William met with Dr. Huet and reported that he was doing well and

had no cravings for drugs or alcohol. He denied being suicidal or planning self-harm.




       73
            Id. at USA_00171–72.




                                                28
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        On January 6, 2010, the day of William’s discharge from the PART program, an

addendum was added to his record that the previous PCL screen was for the wrong patient and

the accurate report for William was 65, or “positive,” and reflected different answers to the

questions as those reflected in the original December 29 screening. Dr. Huet learned of the PCL

error on January 6. He testified that it would have been appropriate to follow-up with William

and disclose the mistake, however, Dr. Huet has no memory of doing so. Dr. Huet indicated

during his deposition testimony that given William’s PTSD score, follow-up “would be very

important.”74 However, William may not have understood the importance of receiving follow-up

care when he was discharged from PART. Follow-up was necessary to determine William’s

risk, and it was his clinician’s responsibility to follow-up with him.

        Upon completing PART on January 6, 2010, William reported learning “significant

information that would be helpful to him after leaving the PART program,” on the issues of

alcohol and cocaine dependence. He was provided with information regarding the emergency

room and walk-in services, which he agreed to utilize as needed. He scheduled a follow-up

appointment with his VA psychiatrist, Dr. Demark, the next day, January 7. His medical records

indicate that he wanted to “arrange his own appointments with Dr. Dent and with the ATP

providers at the Kansas City VAMC.”75 Dr. Dent received this note. The record states that

William’s January 7 appointment with Dr. Demark was “cancelled by patient.”76 There is no

indication that Dr. Demark took steps to contact William about this missed appointment.77

Post-Discharge

        74
             Doc. 139-8 at 67:23.
        75
             Doc. 131-2 at USA_00149.
        76
             Doc. 129 at 4, Stip. No. 20.
        77
         The Court agrees with the Government that Plaintiff’s Exhibits R and S, the 2013 and 2014 VA policies
on No Show Appointments, are immaterial. Neither policy was operative in 2010 when William was discharged.




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       On January 12, 2010, Dr. Rosinski called William to “follow up with him regarding how

he has done with the transition home from the PART program.”78 She left him a voicemail and

asked him to call her back.

       Dr. Dent contacted William within two or three weeks after his discharge from PART to

arrange a follow-up appointment because Plaintiff had not yet contacted him. During that call,

Dr. Dent asked how William was doing, and William denied any suicidal ideation. Dr. Dent

scheduled follow-up appointments with William for himself and for Dr. Demark in April 2010.

Although Dr. Dent would have preferred an earlier follow-up appointment, the April

appointments were set based on William’s willingness and availability, and based on the fact that

he was not suicidal or homicidal at the time. Regardless of the April appointments, patients at

the VA always have the opportunity to “walk-in for a session at any time.”79 Dr. Dent did not

enter a note regarding this conversation with William because he did not deem the conversation

“particularly significant.”80

       On March 5, 2010, William attended an appointment with his VA primary care physician,

Dr. Walterbach. At this appointment, William reported no alcohol or drug use in the past five

months, that he was doing better, and had some job opportunities. A drug and alcohol screen

confirmed no alcohol or drugs in William’s system.

       Andrea Barber, William’s former girlfriend and the mother of one of his children, saw

William in early March 2010, and he seemed to her happy and excited to have his daughter for

the weekend. Barber believed William had been doing better in the three or four months before

he died, stating that he looked “happy” and “healthy,” and that he appeared to be sober.


       78
            Doc. 131-2 at USA_00146.
       79
            Doc. 131-6 at 48:08–21.
       80
            Id. at 83:19–84:8.




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       William was accepted into Colorado Technical University on March 15, 2010.

       On March 16, 2010, William had lunch with his brother Corey at Tanner’s Bar and Grill.

William’s stepmother Laurie Draughon also saw William on March 16 when he and Moran came

over to her house while test driving a car. They stayed for a few hours and left. William’s father

saw William on March 16, and testified that he was “good to go.”

       Between November 2009, and March 18, 2010, Corey witnessed his brother William

have flashback episodes on three occasions, although he could not recall the exact dates. He

testified about these episodes as follows:

                   He wasn’t right in the head. He was running around saying that the
                   enemy’s coming, the enemy’s coming. You know, everybody get
                   down in the basement, I will take care of this, you know. We got
                   them out here in front of the house, they are starting to come up the
                   back side, you know, I am going to flank them around. I mean,
                   what kind of talk is that, man? That’s not normal.81

Corey testified that these episodes happened after William returned from treatment until the date

of his death.

William’s Suicide

       On St. Patrick’s Day, March 17, 2010, William went out with his brother. His father

explained, “It was a big deal for William, and he’s Irish, and St. Patty’s Day was one of his

holidays. And him and his brother went out and drank the night before. And on the night of, he

still had a hangover from the night before, didn’t want to go out, but Jennifer wanted to go out,

so he appeased her, and they went out.”82 William died on March 18, 2010, around 1:30 a.m.

from a self-inflicted gunshot wound to the head. Corey recalls hearing William and Moran

arguing, and within twenty minutes, Corey went upstairs right as William shot himself.


       81
            Doc. 140-9 at 47:9–25.
       82
            Doc. 131-15 at 238:04–16.




                                                    31
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       William’s postmortem toxicology report showed the following result:

                  Methanol-< 5mg/dL
                  Acetone-<5mg/dL
                  Ethanol-293 mg/dL
                  Isopropanol-<5mg/dL
                  Volatile Panel-Blood
                  Methanol-< 5mg/dL
                  Acetone-<5mg/dL
                  Ethanol-335 mg/dL
                  Isopropanol-<5mg/dL

Defendant’s expert, Dr. Christopher Ticknor characterized these results as demonstrating that

Plaintiff was “grossly intoxicated” at the time of his suicide.

       After reasonable inquiry, no calls to a suicide or crisis hotline regarding or by William

after October 7, 2009, can be identified. After reasonable inquiry, no visits to a VA emergency

room regarding or by William after October 7, 2009, can be identified. After reasonable inquiry,

no suicide note for William has been found.

       On April 7, 2010, Laurie Draughon contacted Dr. Rosinski and indicated “the family’s

shock at what happened as they had felt [William] was doing better psychiatrically.”83

Expert Opinions

       The Government’s expert, Dr. Ticknor, testified at his deposition that William’s suicide

was caused entirely by a drunken quarrel with his girlfriend, and that his PTSD did not cause or

contribute to his alcoholism, or his suicide.

       Plaintiff submits three expert opinions on standard of care and causation: Drs. Bruce,

Allen, and Amsel. All three experts opine that William did not receive adequate and timely

treatment at the VA for his PTSD in keeping with the standard of care, resulting in his suicide.

Among the problems Dr. Bruce identified are: the VA’s failure to treat his PTSD concurrently


       83
            Doc. 131-2 at USA_00137.




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with his substance abuse; ineffective use of “supportive therapy”; inappropriate dosages of

psychiatric medicine in light of William’s medical history; removing William from the high-risk

list of suicidal veterans; mischarting his PCL screen and failing to follow up with William on the

error; and failure to contact him after his missed January 7 appointment.

       Dr. Allen agrees that William’s high risk flag for suicide was erroneously removed from

his medical chart in December 2009, and contends that this error resulted in less regular suicide

risk assessment and safety planning. He also agrees that the VA erred by failing to follow up

with William about his missed appointment in January. Further, Dr. Allen opines that the VA

breached the standard of care by failing to ensure specialized and continuing care for William’s

PTSD, by discharging him despite his high PCL score, by failing to assess and manage his

suicide risk, and by failing to follow up. Dr. Allen contends that the VA’s failures caused or

contributed to William’s death.

       Dr. Amsel agrees that William’s PTSD and substance abuse were not treated

simultaneously, as they should have been. He further faults the VA staff for failing to help

William more quickly complete the application for the SDTP program in Topeka, and that he

should have simply been admitted to that program sooner. Dr. Amsel believes that TBI should

have been evaluated during William’s treatment but never was. He also faults the VA for

removing William’s high suicide risk flag and for failing to follow up with him after his missed

appointment on January 7. Dr. Amsel contends that these breaches of the standard of care

directly caused or contributed to William’s suicide.

       C.      Discussion

       Plaintiff brings this wrongful death action under the Federal Tort Claims Act (“FTCA”).

When a plaintiff brings suit against the United States under the FTCA, the source of law is “the




                                                33
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law of the place where the act or omission occurred.”84 The Court has already determined that

Plaintiff’s claim arises under Missouri law.85 To state a wrongful death claim on a theory of

negligence under Missouri law, Plaintiff must establish the following elements at trial: “(1) the

defendant owed a duty of care to the decedent; (2) the defendant breached that duty; (3) the

breach was the cause in fact and the proximate cause of his death; and (4) as a result of the

breach, the plaintiff suffered damages.”86 The standard of care generally must be established by

expert testimony.87 The Government moves for summary judgment on two elements—breach

and causation.

       1.          Breach of the Duty of Care

       As an initial matter, the Government challenges the scope of Plaintiff’s allegations that it

breached the applicable standard of care. The Government argues that several of the breaches

discussed in the Pretrial Order are not discussed by the experts, and characterizes the remaining

alleged breaches as either clinical disagreements, or contentions that the VA should have forced

William to seek additional care. Plaintiff responds that the VA breached the standard of care at

multiple points during his treatment in 2009 and 2010. Specifically, Plaintiff alleges that the VA

fell below the applicable standard of care by (1) charting the wrong veteran’s PCL score before

discharging William from the PART program, and failing to correct it until the date of discharge;

(2) failing to provide the requisite follow-up care to William after his PART discharge; (3)

removing William from its list of patients at high-risk for suicide; (4) failing to follow its own




       84
            28 U.S.C. § 1346(b)(1); Flynn v. United States, 902 F.2d 1524, 1527 (10th Cir. 1990).
       85
            See Doc. 33.
       86
            Heffernan v. Reinhold, 73 S.W.3d 659, 665 (Mo. Ct. App. 2002).
       87
            See, e.g., McLaughlin v. Griffith, 220 S.W.3d 319, 320–21 (Mo. Ct. App. 2007).




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policies with respect to William’s care; and (5) failing to provide concurrent and specialty

treatment for William’s PTSD and substance abuse.

         The Government argues that Plaintiff did not adequately plead as a separate breach the

mistaken PCL score. The Court has reviewed the Amended Complaint,88 the excerpt filed by the

Government of Plaintiff’s interrogatory responses,89 and the Pretrial Order,90 and finds that this

allegation was sufficiently alleged. The Pretrial Order “controls the course of the action unless

the court modifies it.”91 “Claims, issues, defenses, or theories of damages not included in the

pretrial order are waived.”92 The Pretrial Order should be “‘liberally construed to cover any of

the legal or factual theories that might be embraced by their language.’ But the primary purpose

of pretrial orders is to avoid surprise by requiring parties to ‘fully and fairly disclose their views

as to what the real issues of the trial will be.’”93

         Plaintiff has consistently alleged that the VA breached the standard of care by failing to

follow and maintain their own policies for treating individuals with William’s health conditions;

namely, PTSD and substance abuse disorder. He also has consistently alleged that the VA did

not properly treat William’s PTSD in conjunction with his substance abuse. Plaintiff’s allegation

about the mischarted PTSD screening score is a specific example of these general allegations of

breach. The Pretrial Order not only alleges the contention about the mischarted PCL score, but it




         88
           Doc. 53. Of course, Plaintiff was not required to plead his legal theories in this pleading. Johnson v. City
of Shelby, Miss., 135 S. Ct. 346, 347 (2013); Zokari v. Gates, 561 F.3d 1076, 1084 (10th Cir. 2009).
         89
              Doc. 131-24.
         90
              Doc. 129.
         91
              Fed. R. Civ. P. 16(d).
         92
           Zenith Petroleum Corp. v. Steerman, 656 F. App’x 885, 887 (10th Cir. 2016) (quoting Cortez v. Wal-Mart
Stores, Inc., 460 F.3d 1268, 1276–77 (10th Cir. 2006)).
         93
              Id. (quoting Trujillo v. Uniroyal Corp., 608 F.2d 815, 818 (10th Cir. 1979), and Cortez, 460 F.3d at
1276).




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is underlined in Plaintiff’s statement of his factual contentions.94 The Court finds that the

allegation that the VA charted the wrong PTSD screening score was sufficiently pled in the

Pretrial Order, and pursuing this theory on summary judgment should not come as a surprise to

the Government.

         Nonetheless, to the extent Plaintiff asks the Court to ignore the Government’s arguments

in the reply brief challenging the PTSD screening score as an independent breach, the Court

denies this request. Plaintiff raised this as an independent breach for the first time in the

response to the motion for summary judgment, and suggested that the Government should be

prohibited from addressing it as such in the reply. While this theory was fairly alleged in the

Pretrial Order as an example of his more generalized breach allegations, the Pretrial Order did

not make clear that Plaintiff would pursue this theory as an independent breach. The Court will

consider the Government’s arguments in the reply, and grants Plaintiff’s motion to file its

proposed three-page surreply to address this issue.

                     a.        Charting Incorrect PTSD Screening Score and Removing High
                               Suicide Risk Flag

         Plaintiff alleges that the VA breached its duty of care to William when it mischarted his

PCL score in December 2009, and when it removed him from the list of patients at high risk of

suicide earlier that month. Similar to the PCL score allegation discussed above, Plaintiff’s

allegation that William was inappropriately removed from the list of patients at high risk of

suicide is part of his more generalized allegations about follow-up care, concurrent treatment,

and failure to follow VA policies.95 Therefore, the Court addresses these allegations in its

discussion of each of the three alleged generalized breaches.96

         94
              Doc. 129 at 9.
         95
          The Court notes that even these three generalized allegations of breach are intricately intertwined. For
example, Plaintiff’s arguments about the VA’s failure to follow its own policies include the policies on follow-up



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                    b.       Failure to Follow and Reasonably Interpret VA Policies

         Plaintiff maintains that the VA breached its duty of care by failing to follow various VA

policies governing William’s treatment, or by unreasonably interpreting its policies when

treating William. Plaintiff points to the VA’s decision to remove William’s high-risk suicide

flag on December 2, 2009, thereby triggering less required follow-up care upon his discharge in

January 2010. His experts maintain that VA policies governing managing and treating patients

with PTSD, maintaining and removing patients on the high-risk suicide list, and contacting

veterans who miss mental health appointments were not followed.

         The Government argues that the VA’s decision to remove William from its high-risk list

is not a viable breach because it involved an exercise of clinical judgment. Under Missouri law,

where “there is room for an honest difference of opinion among competent physicians, a

physician who uses his own best judgment cannot be convicted of negligence, even though it

may afterward develop that he was mistaken.”97 The problem with the Government’s argument

is that viewing the evidence in the light most favorable to Plaintiff, there was no exercise of

judgment in removing William’s high risk flag. In fact, VA staff members disagree about who

made the ultimate decision to remove William from the list. This is not a case like Haase where

there is a mere difference of medical opinion about the correct course of action; there is no

indication that Dr. Demark or Ms. Durkin considered and exercised a reasoned decision about

whether or not William should come off of the list. Ms. Durkin considered her role to be

care. Therefore, while the Court discusses each of these general theories of breach separately, the Court is cognizant
that none of Plaintiff’s allegations of breach can be neatly isolated at a particular moment in time, but instead are
interrelated.
         96
           Similarly, Plaintiff states in a footnote that it sufficiently alleged claims that the VA breached its duty of
care by failing to treat William for suspected TBI and Bipolar disorder. While it may be true that William was not
treated for these suspected illnesses, despite indications in the medical record that the providers suspected they were
at play, because there is no evidence linking the failure to treat these issues to his suicide, the Court need not
consider these allegations of breach.
         97
              Haase v. Garfinkel, 418 S.W.2d 108, 114 (Mo. 1967).




                                                           37
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clerical, and Dr. Demark does not recall taking part in the decision, and believed that it was Ms.

Durkin’s decision. Moreover, Plaintiff has come forward with evidence that the failure to

document the reasons for removing the flag fell below the applicable standard of care. This

evidence is sufficient to create a genuine issue of material fact for trial.

        The Government points to Dr. Huet’s deposition testimony that he had no problem with

the decision to remove William from the high-risk list. But it is uncontroverted that Dr. Huet did

not take part in the decision to remove the flag. The Government also contends that Dr. Demark

now contends that it was not a problem to remove the flag. To the extent the Government relies

on the fact that Dr. Demark signed the note authorizing removal of the flag, that does not create a

genuine issue of material fact. Viewing the evidence in the light most favorable to Plaintiff, Dr.

Demark was not the decisionmaker and has no recollection of authorizing William’s removal

from the list. Also, viewing the evidence in the light most favorable to Plaintiff, the removal was

not based on a clinical judgment, but on a clerical removal as soon as the 90-day mark had

passed. Plaintiff’s experts contend that the VA removed him from the list without any

explanation, and that the record did not support the decision. For example, Dr. Allen explained:

                Ms. Durkin erroneously reduced Mr. Draughon’s risk assessment
                from high to low or moderate on 4 Dec 2009. This may have been
                based on the fact Mr. Draughon was in better condition on that
                date although the rationale is not documented. It does appear that
                Mr. Draughon’s condition had improved. However, it is likely that
                Mr. Draughon’s apparent improvement was related to a long
                period of intensive treatment and round-the-clock supervision.
                The removal of the Category l1 Flag in that circumstance can only
                apply to that circumstance, ie, he could be considered low to
                moderate risk while drug and alcohol free, receiving medications
                and supportive care in a supervised setting. His risk under other
                circumstances was not assessed and, in fact, continued care in a
                residential setting, the Stress Disorders Treatment Program, was
                recommended but did not occur. There appears to have been no




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                   consideration given to the likely return of his problems and
                   attendant worsening of his suicide risk.98

Dr. Allen proceeded to explain that the VA should have assessed William’s risk factors at the

time of discharge, because “risk is highest following discharge and prior to establishing care in

another setting.”99 A reasonable trier of fact could conclude from this evidence that the decision

to remove Plaintiff from the high-risk list, despite his improvement while in residential

treatment, breached the standard of care.

                   c.          Inadequate Follow-up Care

       Plaintiff maintains that the VA breached the standard of care by failing to provide the

appropriate follow-up care for William after he was discharged from the PART program on

January 6, 2010. This theory of breach also relies on Plaintiff’s contention that William should

not have been removed from the list of high-risk for suicide patients; Plaintiff contends that as a

high-risk patient, he should have received weekly evaluations for the first thirty days after

discharge, a care plan that included a process for follow-up from the VA for missed

appointments, a written safety plan, and high-risk monitoring for at least three months after

discharge. Plaintiff points to the positive PCL score as further evidence that William should

have remained on the high risk list, and should have been monitored more closely at discharge.

       The Government mistakenly characterizes Plaintiff’s argument as contending that the VA

should have forced William to attend his follow-up appointments, or that he should have been

involuntarily committed. But that is not Plaintiff’s contention. This theory of breach derives

from the premise that William was not monitored as he should have been had his high-risk flag

not been removed. There is no dispute that a patient discharged while still in high-risk status


       98
            Doc. 140-5 at 4.
       99
            Id.




                                                    39
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would be subject to aggressive follow-up and monitoring under the VA’s policies, as described

by Plaintiff. Because there is a genuine issue of material fact, as set forth above, about whether

William’s high-risk designation was properly removed, the appropriate level of follow-up care is

also a genuine issue of material fact.

       If the trier of fact determines that the high risk flag was improperly removed, it is

undisputed that VA policies required it to monitor William on a weekly basis. Viewing the

evidence in the light most favorable to Plaintiff, the VA breached its standard of care for follow-

up when it allowed William to reschedule his next appointment in April, months after his

discharge, and by failing to monitor William and follow-up on his missed appointment in

January.

       Moreover, there is a genuine issue of material fact about whether the VA breached its

duty of care in failing to better follow-up with William even without the high-risk designation.

Viewing the evidence in the light most favorable to Plaintiff, after William cancelled his first

follow-up appointment the day after his discharge with Dr. Demark, there was no attempt to

contact him for two to three weeks when Dr. Dent called him to discuss a follow-up

appointment. During this conversation, which Dr. Dent characterized as “not particularly

significant,” William asked to schedule out his next follow-up appointments in April. Dr.

Demark made no attempt to reschedule the appointment after William cancelled. Plaintiff’s

experts maintain that these providers should have made a greater effort to establish follow-up

appointments immediately after William’s discharge given that it was a critical period of

transition for him, and given his operative PCL score, which Dr. Huet testified meant that

follow-up care was important.




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         The Government argues that William was offered and agreed to receive extensive

inpatient and outpatient care from the VA. It points out that the SDTP program had been made

available to him following PART, and that it had no duty to force William to attend his January

7, 2010 follow-up appointment or SDTP. But Plaintiff argues that it was the failure to assist

Plaintiff in attending SDTP—a program that would more specifically deal with his PTSD—

instead of PART, that constitutes a breach of the standard of care. A reasonable trier of fact

could conclude that by the time William completed the seven-week PART program, he was

unable to immediately begin another seven-week program. He feared foreclosure on his home

and opted instead to be discharged and work for a period of time in order to pay down his

mortgage. Viewing the evidence in the light most favorable to Plaintiff, had William received

assistance in applying for the SDTP program sooner, he could have attended that specialized

program before PART, or instead of PART, while he continued to be flagged as a patient at high-

risk for suicide. Plaintiff’s experts contend that this program would have better provided

concurrent and specialty treatment for William’s PTSD. Given this evidence, a reasonable trier

of fact could conclude that the VA’s follow-up treatment fell below the standard of care.

                  d.       Failure to Provide Concurrent and Specialty Treatment for William’s
                           PTSD and Substance Abuse

         Finally, Plaintiff argues that the VA breached its duty of care to William by improperly

treating his PTSD in conjunction with his substance abuse.100 Plaintiff maintains that William

was not provided with the necessary specialty care for his PTSD in the fall and winter of 2009–

2010, which was the root cause of his alcohol abuse. As part of this breach, Plaintiff contends

that the VA failed to timely refer him to the SDTP program, and that he should have been

         100
            In its opening brief, the Government suggests that Plaintiff failed to demonstrate a breach associated with
the VA’s treatment of William’s alcohol abuse. But that is not Plaintiff’s argument. Plaintiff argues that the VA
failed to provide concurrent and specialty treatment for William’s PTSD when it treated his alcohol dependency.




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referred to SDTP instead of PART after he completed the SARRTP program. In contrast, the

Government’s expert Dr. Ticknor contends that William’s alcohol abuse and impulsivity were

separate problems, unrelated to his PTSD, and that the VA properly treated these conditions.

       The Court agrees that there is a genuine issue of material fact about the degree to which

William’s substance abuse was a symptom of his PTSD, or a separate ailment, and to what extent

his treatment should have focused more on one versus the other. The experts vehemently

disagree about these issues, and a reasonable trier of fact could find in favor of Plaintiff.

       There is also a genuine issue of material fact about whether the VA’s treatment of

William’s PTSD fell below the applicable standard of care. The Government points to evidence

that PART and SAARTP were designed to treat both William’s substance abuse and his PTSD,

and that it is not uncommon to attend PART before entering SDTP. Therefore, the Government

argues that it fulfilled its duty to treat his comorbid conditions. But Plaintiff’s experts contend

that William’s treatment did not specifically address his PTSD symptoms. For example, Dr.

Bruce explains that SDTP would have provided William with certain “proven treatments for

PTSD, including prolonged exposure (PE) and Cognitive Processing Therapy (CPT),” which had

not been provided by the VA up to that point.101 He contends that although William was “treated

aggressively” for his alcohol and substance use, he did not receive concurrent treatment for his

PTSD.102 Likewise, Dr. Amsel and Dr. Bruce criticize the VA’s failure to help William

complete the SDTP application sooner. In addition, a reasonable trier of fact could conclude

from examining the VA’s materials describing each program that SDTP would have placed a

heavier emphasis on William’s PTSD as compared to PART, which had been recommended to

help him with sobriety “maintenance.” Given the record evidence suggesting that William’s

       101
             Doc. 140-3 at 7.
       102
             Doc. 140-4 at 4.




                                                  42
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substance abuse was part of an effort to self-medicate, and was tied to his PTSD symptoms, a

reasonable trier of fact could conclude that the VA breached the standard of care by not timely

providing the assistance William needed to apply to SDPT program, which would have

specifically targeted his PTSD and provided concurrent specialized treatment for PTSD and

substance abuse.

         2.       Causation

         The Government argues that there is no evidence of causation sufficient to support

Plaintiff’s claim for two reasons: (1) his experts’ opinions are inadmissible; and (2) the

circumstances of William’s suicide are too attenuated from the alleged breaches of the duty of

care by time, intervening events, and a lack of notice and foreseeability. The Court has already

addressed the Daubert issue and determined that Plaintiff’s experts’ opinions are admissible.

Therefore, the Court proceeds to the question of proximate cause—whether William’s suicide

was too attenuated from his treatment to establish causation.

         As previously recited in its discussion of the Daubert motion, Plaintiff must be able to

offer evidence of proximate causation—that “suicide was ‘the natural and probable consequence’

of the injury he suffered at the hands of the defendant.”103 The Missouri Supreme Court has

cited with approval modern psychiatric scholarship supporting “the idea that suicide is

sometimes a foreseeable result of traumatic injuries.”104 If Plaintiff produces evidence “that the




         103
           Kivland v. Columbia Orthopaedic Grp., LLP, 331 S.W.3d 299, 309 (Mo. 2011) (en banc) (quoting
Callahan v. Cardinal Glennon Hosp., 863 S.W.2d 852, 865 (Mo. 1993) (en banc)).
         104
            Id. at 308–09 (citing Allen C. Schlinsog, Jr., The Suicidal Decedent: Culpable Wrongdoer, or Wrongfully
Deceased, 24 J. Marshall L. Rev. 463, 479, n.76 (1991) and Gabriel Ryb E., M.D. et al., Longitudinal Study of
Suicide After Traumatic Injury, 61 J. Trauma 799 (2006) (finding that suicide is more common for trauma patients
than for the general population, particularly with increased age, for white male trauma patients, for trauma patients
having a positive alcohol toxicology and for trauma patients suffering from disability resulting from the trauma)).




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suicide resulted from the injury, the claim then can be submitted to the jury to decide as a

question of fact, whether the suicide is a direct result of the defendant’s negligence.”105

        The Government argues that there is no direct evidence that William was experiencing

PTSD symptoms on March 18, 2010. It points to evidence that William had been doing well

after his January discharge. Andrea Barber, William’s former girlfriend, observed that he was

looking healthy, happy, and sober in the months leading up to his death. William’s father and

stepmother saw him two days before the suicide and thought he was doing well. William had

just learned he had been accepted into school. The Government also points to evidence that

neither Dr. Dent nor Dr. Walterbach noted any indications of suicide ideation or substance abuse

after William’s January discharge.106 The burden therefore shifts to Plaintiff to produce evidence

that William’s suicide resulted from the VA’s breaches of the duty of care during his treatment.

As set forth below, Plaintiff has met this burden.

        First, Plaintiff’s experts all opine that William’s suicide was a result of the VA’s failures

to properly treat William’s PTSD, and to follow-up with him after he was discharged in January

2010. They opine that had William enjoyed the full panoply of care associated with the high-risk

flag following his discharge in January 2010, including weekly monitoring, the VA would have

likely intervened and provided William with the necessary resources to prevent his suicide in

March. Moreover, had William been enrolled in the SDTP program, Dr. Bruce opines that he

would have received appropriately targeted treatment for his PTSD, rather than treatment that

was more focused on his substances abuse, a symptom of his PTSD. Finally, Dr. Allen directly

addresses the Government’s theory that William’s suicide was caused by impulsivity and alcohol


        105
              Id. at 310.
        106
           As previously discussed, the police report from the night of William’s suicide is inadmissible hearsay
and thus cannot be used by the Government to demonstrate a lack of causation.




                                                        44
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abuse that can be separated from his PTSD symptoms and rejects it. As already discussed, these

experts carefully reviewed William’s medical records and other record evidence in this matter in

reaching their opinions.

       Second, Plaintiff points to Corey’s testimony that William continued to have flashbacks

after his January treatment. The Government questions the weight of this evidence, pointing to

Corey’s failure to remember the exact dates on which these flashbacks occurred. But on

summary judgment the Court views the evidence in the light most favorable to Plaintiff, and does

not weigh conflicting evidence. Taken in the light most favorable to Plaintiff, Corey’s testimony

demonstrates that William indeed continued to suffer from combat flashbacks after he was

discharged in January, until the date of his death. This evidence directly controverts the

Government’s assertion that William was happy, healthy, and sober between the time of his

discharge and the date of his death, creating a genuine issue of material fact about whether

Plaintiff was experiencing PTSD symptoms at the time of his death.

       There is a fundamental issue of fact in this case about whether William committed

suicide due to alcohol abuse and impulsivity, but was otherwise handling his PTSD symptoms

prior to his death, or to the contrary, whether he continued to struggle with PTSD, which in turn

led to suicidal thoughts, impulsivity, and alcohol abuse. The experts disagree. Because the

controverted facts, when viewed in the light most favorable to Plaintiff, could lead a reasonable

trier of fact to conclude that William’s suicide was the direct result of the VA’s negligence,

summary judgment must be denied.

       IT IS THEREFORE ORDERED BY THE COURT that the Government’s Motion to

Exclude Testimony Pursuant to Daubert (Doc. 132) is denied.




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       IT IS FURTHER ORDERED that the Government’s Motion for Summary Judgment

(Doc. 130) is denied.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Leave to File Sur-reply (Doc.

143) is granted.

       IT IS SO ORDERED.

       Dated: August 15, 2017

                                               S/ Julie A. Robinson
                                               JULIE A. ROBINSON
                                               UNITED STATES DISTRICT JUDGE




                                          46
